




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-05-00296-CV

&nbsp;

Bill G. Williams, Shirley R. Williams, 

and Automated Shrimp Company,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellants

&nbsp;v.

&nbsp;

Health Discovery Corporation,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;

&nbsp;



From the 170th District Court

McLennan County, Texas

Trial Court No. 2004-1188-3

&nbsp;



MEMORANDUM&nbsp; Opinion



&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellants have filed a motion to dismiss this interlocutory
appeal.&nbsp; Appellee has not filed a response.&nbsp; Accordingly, the appeal is
dismissed. &nbsp;See Tex. R. App. P. 42.1(a)(1).

PER CURIAM

Before Chief Justice
Gray,

Justice
Vance, and

Justice
Reyna

Appeal dismissed

Opinion delivered and
filed October 12, 2005

[CV06]






erif"&gt;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Alfredo Gomez Contreras was found guilty of aggravated sexual assault, and the jury
assessed punishment at ninety-nine years in prison.  He appeals the judgment in two points of
error.  We will affirm the judgment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In point one, Contreras alleges that the evidence was insufficient to support the verdict at
the guilt-innocent phase of the trial.  He contends that there was insufficient evidence to prove that
the victim was not his spouse at the time of the offense.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In reviewing the sufficiency of the evidence, we must determine whether, "after viewing
the evidence in the light most favorable to the prosecution, any rational trier of fact could have
found the essential elements of the crime beyond a reasonable doubt."  See Butler v. State, 769
S.W.2d 234, 239 (Tex. Crim. App. 1989).  The essential elements of aggravated sexual assault
are defined by section 22.021 of the Texas Penal Code.  See Tex. Penal Code Ann. § 22.021
(Vernon 1989).  The indictment alleged that on or about August 15, 1990, Contreras
"intentionally, and knowingly cause[d] the penetration of the female sexual organ of [the victim],
a child younger than 14 years of age who was not the spouse of said defendant."  The jury found
Contreras "guilty of the offense of Aggravated Sexual Assault as charged in the indictment."
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the trial, on February 12, 1991, the victim testified that she was ten years old.  Her
mother testified that she married Contreras on April 23, 1987.  She also testified that she was still
married to him at the time of trial.  At the closing of the evidence, Contreras moved for a directed
verdict alleging that the State had failed to prove beyond a reasonable doubt that the victim was
not the spouse of Contreras.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The court permitted the State to reopen its case, and the victim's mother testified that she
was married to Contreras, that the victim was not married to Contreras, that the victim and
Contreras were not husband and wife, and that the victim was not the spouse of Contreras.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Contreras now contends that the evidence remains insufficient because the State's proof
related to the victim's marital status at the time of trial rather than at the time of the offense. 
Contreras argues that the evidence, viewed in the light most favorable to the prosecution, showed
only that he was not married to the victim at the time of trial.  However, the victim's own
testimony that she was ten years old at the time of trial provided sufficient evidence for a rational
trier of fact to find, beyond a reasonable doubt, that she was not Contreras' spouse on August 15,
1990.  In Brown v. State, 112 Tex. Crim. 92, 14 S.W.2d 63, 67 (1929), the court held that
because the proof in that case showed the victim to be of the tender age of eight years, no further
testimony was needed to establish the fact that the victim was not the defendant's wife.  See also
Wendt v. State, 664 S.W.2d 730, 732 (Tex. App.—Waco 1983, pet. ref'd) (holding that
uncontroverted evidence of the complaining witnesses' youth was sufficient to establish that
neither was defendant's spouse).  Point of error one is overruled.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In point two, Contreras contends that the court erred in overruling his objection to
improper argument made by the prosecutor during the punishment phase of the trial.  Proper jury
argument falls within one of the following categories: (1) a summary of the evidence; (2) a
reasonable deduction from the evidence; (3) an answer to the opponent's argument; or (4) a plea
for law enforcement.  Alejandro v. State, 493 S.W.2d 230, 231 (Tex. Crim. App. 1973).  All
other arguments are improper.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In closing argument, the prosecutor made the following argument:
[PROSECUTOR]:  I'm not going to stand up here and tell you give him a certain amount
of time.  That's up to you.  But I will tell you I don't think it's a case that deserves five,
or ten, or fifteen, or twenty years.  I think it deserves a lot more than that.  Aggravated
sexual assault is a fourteen-year-old child that gets abused.  This isn't a case where you
have a fourteen-year-old child maybe she's a little promiscuous.
&nbsp;
[CONTRERAS' COUNSEL]:  If the court please, we object.  That's an improper
argument altogether due to the fact we could not go back into the sexual promiscuity of the
child.
&nbsp;
THE COURT:  Overruled.
&nbsp;
[PROSECUTOR]:  This isn't a case where we have a little fourteen-year-old child who is
promiscuous and a little sixteen-year-old boy maybe things get hot and she tells on him. 
Maybe that's a five or ten year case.  Here you have a grown man and a little ten-year-old
girl.  Who knows better?  He knows better, and he ought to be punished for it.

(Emphasis added).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Contreras argues that because evidence of the sexual promiscuity of the child was not
admissible, the prosecutor's argument was improper.  According to Contreras, the state should
not be permitted to argue for an increased sentence by directing the jury's attention to a lack of
evidence that the state knows would not be properly admissible by the defendant.  We agree. 
Because the prosecutor's argument did not fall within one of the categories of proper jury
argument, the trial court erred in overruling the objection.  When a court overrules an objection
to improper jury argument, error results, and a harm analysis under Rule 81(b)(2) of the Texas
Rules of Appellate Procedure is required.  Moreno v. State, No. 10-90-139-CR, slip op. at 13
(Tex. App.—Waco, November 27, 1991, pet. filed); Washington v. State, No 10-88-054-CR, slip
op. at 13 (Tex. App.—Waco, November 20, 1991, pet. filed); Tex. R. App. P. 81(b)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To determine whether the error is harmless, we must calculate as much as possible the
probable impact of the error on the jury in light of the existence of the other evidence.  Orona v.
State, 791 S.W.2d 125, 130 (Tex. Crim. App. 1990).  As the court in Orona noted, in the context
of a harmless error analysis, "other evidence" is the entire record.  See id.  As in Orona, we
recognize that overwhelming evidence of guilt is a variable to be calculated in the harmless error
analysis.  See id.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The victim testified at trial that Contreras "put his fingers in his mouth and he started
rubbing [her] private."  On another occasion, he again "started rubbing [her] private."  She also
testified that he "put his private in [her] private" three times.  Following the victim's testimony
that Contreras had blisters on his "private parts," evidence from both a pediatrician and a
gynecologist established that the victim had contracted genital herpes, an incurable disease that can
only be transmitted through sexual contact.  Finally, evidence was introduced at the punishment
phase that Contreras had been previously convicted for the offense of murder.  Considering the
overwhelming evidence of guilt and Contreras' criminal history, we conclude beyond a reasonable
doubt that the final argument by the State did not contribute to the punishment assessed by the
jury.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In reviewing the record, it is apparent that the State was not intentionally attempting to taint
the trial process with improper argument.  The prosecutor made only a passing reference to the
promiscuity of a fourteen-year-old girl in an attempt to distinguish the conduct of a teenage boy
from that of a mature adult for whom a severe punishment might be more appropriate.  Because
the probable impact of the improper argument on the jury was minimal, we overrule point of error
two.  See id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The judgment is affirmed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;BOBBY L. CUMMINGS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Before Chief Justice Thomas,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Cummings, and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance
Affirmed (Justice Thomas concurring)
Opinion delivered and filed January 8, 1992
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